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=B>OIT  V ,=L<COLVH4@4-K4V&HV&.3-S=VS=@@V-@KCV04VOB-0@4VLCV2CAE@4L4V<=KVOB34H;H-3O-L4V

34;H44V *<4K4VECKK=0@4V=B>OH=4KVS4=;<VKLHCB;@TV-;-=BKLVL<4V=KKO-B24VC5V-VKL-TV

               #*'./)%/ )'/ $)'()/')(

       *<4V2COIMV=KVBCLV-S-H4VC5VECKK=1@4V=B>OHTVLCVCL<4HV=BL4H4KL43VE-HL=4KV=BVL<=KV2-K4V

               /*!/ #)'()

       &HV&-<3-S=KVH4@4-K4V=KV-@KCV=BVL<4VEO0@=2V=BL4H4KLV %=KV2CBL=BO43V34L4BL=CBVSCO@3V

@=?4@TV<-R4V-V2<=@@=B;V46742LVCBVEHCL42L43VKE442< VS<=2<V=KVKGP-H4@TV-;-=BKLVL<4VEO0@=2V=BL4H4KLV

B3V2CBL=BO=B;VLCV34L-=BV<=AVSCO@3VBCLV04B48LVL<4VEO0@=2V=BV-BTVS-T V-KV&HV&-<3-S=V-EE4-HKV

BCLVLCV14V4=L<4HV-V9=;<LVH=K?VCHV-V3-B;4HVLCVL<4V2CAAOB=LTV #=B-@@T V&HV&-<3-S=KVH4@4-K4VS=@@V

04B48LV<=KV2CAAOB=N VS<=2<V-EE4-HKVLCV344E@TV2<4H=K<V/3VR-@O4V<=AV *<4V2COIMVL<4H4:H4V

342@=B4KVLCVKL-TV=LKVCH34HVE4B3=B;V-EE4-@V-B3V=BKL4-3VH4GO=H4KV&HV&-<3-S=VKV=AA43=-L4VH4@4-K4V

                                                       /

       (4L=L=CB4HKV&CL=CBV6DHV)4@4-K4V!C2V V=KV$)'*"!V *<4V2CQLVCH34HKVL<4VH4@4-K4VC5V

&C<K4BV&-3-S=VCBV<=KVF4HKCB-@VH42C;B=U-B24V3OH=B;VL<4VE4B34B2TVC5VL<=KV<-04-KVEHC2443=B;V

%=KVH4@4-K4V=KVKO0>42LVLCVL<4V:@@CS=B;V2CB3=L=CBKV

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Dated at Burlington, in the District of Vermont, this 30th day of April, 2025.
